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  8
                         IN THE UNITED STATES DISTRICT COURT
  9
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 10
 11
 12   ASHTON FORBES,                                3:20-cv-00998-BAS-JLB
 13                                     Plaintiff, MEMORANDUM OF POINTS AND
                                                   AUTHORITIES IN SUPPORT OF
 14                v.                              STATE DEFENDANTS’ MOTION
                                                   TO DISMISS SECOND AMENDED
 15                                                COMPLAINT
      COUNTY OF SAN DIEGO,
 16   GOVERNOR GAVIN NEWSOM in                      Judge:    Hon. Cynthia A. Bashant
      his official capacity, SONIA Y.               Courtoom: 4B
 17   ANGELL, in her official capacity,
      and DOES 1-50,
 18                                                 Hearing Date : Tuesday, Sept. 8, 2020
                                     Defendants.
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 11   Six, et al. v. Newsom, et al.
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  1                                     INTRODUCTION
  2        California, along with rest of the world, is combating a serious public health
  3   emergency of a magnitude unseen in the last century. COVID-19 presently has no
  4   known cure or treatment, and continues to infect thousands of people in California
  5   with each passing day. As of the date of this filing, California has recorded
  6   391,538 confirmed cases and 7,694 deaths from the highly contagious and often
  7   fatal novel coronavirus disease.1
  8        Early action by the State is credited with initially limiting the spread of disease
  9   and preventing numerous fatalities. After months of sheltering in place, the State
 10   slowly started to reopen and resume economic activity. But a troubling surge of
 11   new COVID-19 cases, including in San Diego County, threatens to reverse the
 12   State’s initial success. In an effort to avoid another shutdown, California Governor
 13   Gavin Newsom and State Public Health Officer Sonia Angell (“State Defendants”)
 14   issued the June 18, 2020 Guidance for the Use of Face Coverings (“Mask Order”),
 15   requiring Californians to wear a face covering or mask when outside their home in
 16   certain specified high-risk settings. See Second Amended Complaint (“SAC”), Ex.
 17   2.
 18        Plaintiff challenges the constitutionality of the Mask Order, alleging that it
 19   unnecessarily requires healthy individuals to wear face coverings. SAC, p. 2:15-17.
 20   Contrary to Plaintiff’s allegations, it is widely understood—and cannot reasonably
 21   be disputed—that “healthy” individuals may be infected, but pre-symptomatic or
 22   asymptomatic, and unknowingly spread the disease to others. See, e.g., S. Bay
 23   United Pentecostal Church v. Newsom, 140 S. Ct. 1613, 1613 (2020) (Roberts, C.J.,
 24   concurring) (“Because people may be infected but asymptomatic, they may
 25   unwittingly infect others.”); Gish v. Newsom, No. 5:20-cv-00755-JGB-KKX, 2020
 26
            1
               See State Defendants’ Request for Judicial Notice (RJN), Ex. 1. California
 27   Dept. of Public Health, COVID-19 by the Numbers,
      https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.asp
 28   x.                                       1
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  1   WL 1979970, at *4 (C.D. Cal. Apr. 23, 2020) (noting that “asymptomatic and pre-
  2   symptomatic carriers of the virus can infect others . . . Anyone could be an
  3   unknowing, undetectable vector for the virus at any time.”).
  4        Moreover, as multiple courts in this State have recently recognized, there is a
  5   compelling public interest in protecting public health, and the State has broad
  6   emergency powers to combat the pandemic. It is settled law that “in every well-
  7   ordered society … the rights of the individual in respect of his liberty may at times,
  8   under the pressure of great dangers, be subjected to such restraint, to be enforced by
  9   reasonable regulations, as the safety of the general public may demand.” Jacobson
 10   v. Massachusetts, 197 U.S. 11, 29 (1905). And because public officials must take
 11   swift and decisive action to deal with public health emergencies, judicial review of
 12   such action is highly deferential.
 13        While conceding that masks are at least “minimally effective in stopping the
 14   spread of COVID-19” (SAC, p. 2:12-15), Plaintiff asks the Court to second-guess
 15   and override the expert judgment of State public health officials, based on his own
 16   view of the science. His complaint should be dismissed without leave to amend.
 17   As an initial matter, Plaintiff’s complaint fails because the Mask Order simply does
 18   not implicate his federal constitutional rights to privacy, to travel, or to decline
 19   unwanted medical treatment. Even if it did, the Mask Order would still be
 20   constitutional as a matter of law, whether Plaintiff’s claims are analyzed under the
 21   framework that applies to emergency public health directives such as the Mask
 22   Order, or under traditional constitutional standards.
 23                                        BACKGROUND
 24   I.   CALIFORNIA’S RESPONSE TO THE PANDEMIC.
 25        COVID-19, the novel coronavirus disease rapidly spreading across the globe,
 26   is highly infectious and often deadly. To date, the SARS-CoV-2 virus (the virus
 27   responsible for COVID-19) has infected over 3.8 million Americans and killed
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  1   more than 140,000, with cases surging across much of the country. 2 It is widely
  2   understood (and, for purposes of this motion to dismiss, cannot reasonably be
  3   disputed) that the disease can be transmitted by individuals who are asymptomatic
  4   or pre-symptomatic, or who otherwise believe they are healthy. See, e.g., RJN, Exs.
  5   5-7.
  6          California responded early and decisively to the COVID-19 pandemic,
  7   working to slow the virus’s spread and preserve the health and safety of all
  8   Californians. On March 4, 2020, the Governor proclaimed a State of Emergency,
  9   and on March 19, issued Executive Order N-33-20, directing all Californians to
 10   immediately heed current State public health directives, which then required
 11   residents to stay at home except for essential needs.3 Such swift and decisive action
 12   is largely credited with limiting the spread of disease and preventing countless
 13   fatalities.4
 14          After months of sheltering in place, the State worked to ease public-health
 15   restrictions imposed to combat COVID-19. On May 8, California moved into
 16   “Stage 2” of reopening, modifying the stay-at-home order, allowing certain lower-
 17   risk workplaces to reopen with safety measures in place.5 However, a troubling
 18   surge of new COVID-19 cases has recently led both local and State officials to take
 19   additional steps to protect public health and safety from the threat posed by
 20
 21
 22           2
               See RJN, Ex. 2, Centers for Disease Control and Prevention (CDC), Cases
      in U.S., https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-
 23   us.html.
             3
               See Request for Judicial Notice in Support of Defendant County of San
 24   Diego’s   Motion to Dismiss (“San Diego County’s RJN”), ECF No. 11-2, Ex. 9.
             4
               Regan Morris, Coronavirus: How California Kept Ahead of the Curve,
 25   BBC News (April 16, 2020), https://www.bbc.com/news/world-us-canada-
      52272651.
 26          5
               See Office of Governor Gavin Newsom, Governor Newsom Releases
      Updated Industry Guidance (May 7, 2020),
 27   https://www.gov.ca.gov/2020/05/07/governor-newsom-releases-updated-industry-
      guidance/; California’s Resilience Roadmap, https://covid19.ca.gov/roadmap/.
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   1   COVID-19. These steps have included orders requiring the use of masks or other
   2   face coverings, in addition to efforts to slow or roll back reopening.6
   3   II.   THE STATEWIDE MASK ORDER.
   4         Since the inception of the crisis, a wide medical and scientific consensus has
   5   developed that masks are an important and effective means of combating the spread
   6   of the disease. In the early stages of the pandemic, critical personal protective
   7   equipment—including N-95 masks—were in short supply for health care providers,
   8   and some health officials urged the public to stop buying masks, as they were
   9   needed for front-line responders, and their effectiveness in preventing the spread of
  10   disease for the general public was not yet apparent. SAC, ¶ 34.7 However, by early
  11   April 2020 the Centers for Disease Control and Prevention (“CDC”) began
  12   recommending that people wear cloth masks (sometimes called “face coverings” to
  13   avoid confusion with more specialized equipment like N-95 masks) when entering
  14   public spaces, in an effort to prevent the spread of infection by asymptomatic or
  15   pre-symptomatic people who have the virus and might not know it.8
  16         Since then, numerous studies have been published supporting widespread use
  17   of face masks by both healthy-presenting and symptomatic individuals alike to limit
  18   the spread of disease.9 The CDC has called on Americans to wear masks to prevent
  19          6
                 See, e.g. RJN, Ex. 3, See July 13, 2020 Statewide Public Health Officer
       Order,
  20   https://www.cdph.ca.gov/Programs/CID/DCDC/CDPH%20Document%20Library/
       COVID-19/SHO%20Order%20Dimming%20Entire%20State%XXX-XX-XXXX.pdf.
  21           7
                 See also Maria Cramer and Knvul Sheikh, Surgeon General Urges the
       Public to Stop Buying Face Masks, N.Y. Times (Feb. 29, 2020),
  22   https://www.nytimes.com/2020/02/29/health/coronavirus-n95-face-masks.html.
               8
                 RJN, Ex. 4, Colin Dwyer and Allison Aubrey, CDC Now Recommends
  23   Americans Consider Wearing Cloth Face Coverings in Public, NPR News (Apr. 3,
       2020), https://www.npr.org/sections/coronavirus-live-
  24   updates/2020/04/03/826219824/president-trump-says-cdc-now-recommends-
       americans-wear-cloth-masks-in-public; see also George v. Diaz, No. 20-CV-03244-
  25   SI, 2020 WL 2542020, at *2 (N.D. Cal. May 19, 2020) (taking notice that CDC
       first recommended the use of cloth face coverings in public settings on April 3,
  26   2020).9
                 See, e.g., RJN, Ex 5. , New IHME COVID-19 Model Projects Nearly
  27   180,000 US Deaths, Institute for Health Metrics and Evaluation (June 24, 2020)
       [predicting prevention of over 2800 fatalities in California by October 1, 2020 if at
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   1   the spread of COVID-19, explaining that “[c]loth face coverings are one of the
   2   most powerful weapons we have to slow and stop the spread of the virus –
   3   particularly when used universally within a community setting.”10 The World
   4   Health Organization (WHO) also encourages the use of face coverings to combat
   5   the spread of the disease when physical distancing is not possible. 11 Beyond
   6   protecting public health, recent analysis by economists at Goldman Sachs estimated
   7   that a national mandate requiring the use of face masks would salvage roughly $1
   8   trillion of economic activity by avoiding further shutdowns.12
   9        On June 4, San Diego County issued an order generally requiring the use of
  10   face coverings in public. SAC at 3:19-25. Two weeks later, on June 18, the
  11   California Department of Public Health issued its “Guidance for the Use of Face
  12
       least 95% of people statewide wear masks in public];
  13          RJN, Ex 6. Payne DC, Smith-Jeffcoat SE, Nowak G, et al., SARS-CoV-2
       Infections and Serologic Responses from a Sample of U.S. Navy Service Members
  14   — USS Theodore Roosevelt, April 2020, CDC Morbidity and Mortality Weekly
       Report (June 12, 2020),
  15   https://www.cdc.gov/mmwr/volumes/69/wr/mm6923e4.htm#suggestedcitation
       [concluding that young, healthy adults with COVID-19 might have mild or no
  16   symptoms, therefore use of face coverings and other preventive measures could
       mitigate transmission];
  17          RJN, Ex 7. M. Joshua Hendrix, MD, Charles Walde, MD, et al., Absence of
       Apparent Transmission of SARS-CoV-2 from Two Stylists After Exposure at a Hair
  18   Salon with a Universal Face Covering Policy — Springfield, Missouri, May 2020, ,
       CDC Morbidity and Mortality Weekly Report (July 14, 2020),
  19   https://www.cdc.gov/mmwr/volumes/69/wr/mm6928e2.htm?s_cid=mm6928e2_w
       [concluding that broader implementation of face covering policies could mitigate
  20   the spread of infection in the general population];
              San Diego County’s RJN, ECF No. 11-2, Ex. 7, CDC, Considerations for
  21   Wearing Cloth Face Coverings, Recent Studies [citing 19 separate studies related
       to asymptomatic transmission and supporting use of face coverings in public
  22   settings].
              10
                 RJN, Ex. 8, CDC Calls on Americans to Wear Masks to Prevent COVID-
  23   19 Spread, CDC Press Release (July 14, 2020),
       https://www.cdc.gov/media/releases/2020/p0714-americans-to-wear-masks.html.
  24          11
                 See San Diego County’s RJN, ECF No. 11-2, Ex. 7.
              12
                 RJN, Ex. 10, Sarah Hansen, A National Mask Mandate Could Save The
  25   U.S. Economy $1 Trillion, Goldman Sachs Says, Forbes (June 30, 2020),
       https://www.forbes.com/sites/sarahhansen/2020/06/30/a-national-mask-mandate-
  26   could-save-the-us-economy-1-trillion-goldman-sachs-says/#7df9620c56f1 /; see
       also RJN, Ex. 9, Face Masks and GDP, Goldman Sachs Research (June 29, 2020),
  27   https://www.goldmansachs.com/insights/pages/face-masks-and-gdp.html
       [concluding that the national economy “could benefit significantly” from a national
  28   face mask mandate].                       5
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   1   Coverings,” requiring the use of face masks in certain high-risk public settings.
   2   SAC, Ex. 2. Specifically, the Mask Order requires the use of a face covering by
   3   individuals when:
   4              Inside of, or in line to enter, any indoor public space;
   5              Obtaining services from the healthcare sector . . .;
   6              Waiting for or riding on public transportation or paratransit or
                  while in a taxi, private car service, or ride-sharing vehicle;
   7
                  Engaged in work, whether at the workplace or performing work
   8              off-site, when:
   9                  o Interacting in-person with any member of the public;
  10                  o Working in any space visited by members of the public,
                        regardless of whether anyone from the public is present at
  11                    the time;
  12                  o Working in any space where food is prepared or packaged
                        for sale or distribution to others;
  13
                      o Working in or walking through common areas, such as
  14                    hallways, stairways, elevators, and parking facilities;
  15                  o In any room or enclosed area where other people (except for
                        members of the person’s own household . . .) are present
  16                    when unable to physically distance.
  17              Driving or operating any public transportation or paratransit
                  vehicle, taxi, or private car service or ride-sharing vehicle when
  18              passengers are present. . . .;
  19              While outdoors in public spaces when maintaining a physical
                  distance of six feet from persons who are not members of the same
  20              household . . . is not feasible.
  21   Id. Certain individuals are exempted from these requirements, including children
  22   under two years of age, and persons with medical conditions that prevent the use of
  23   a mask. Id.
  24        In explaining the newly issued public health order, Governor Newsom stated:
  25        Simply put, we are seeing too many people with faces uncovered –
            putting at risk the real progress we have made in fighting the disease.
  26        California’s strategy to restart the economy and get people back to work
            will only be successful if people act safely and follow health
  27        recommendations. That means wearing a face covering, washing your
            hands and practicing physical distancing.
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   1   RJN, Ex. 11 (June 18, 2020 California Dept. of Public Health Press Release).
   2        As cases continue to surge nationwide, other states have followed California’s
   3   lead and instituted their own orders requiring the use of masks in public.13
   4   III. THE ALLEGATIONS IN THE COMPLAINT
   5        On May 31, 2020, Plaintiff filed an action against San Diego County health
   6   officials, challenging the county’s requirement to wear face coverings in public.
   7   Complaint, ECF No. 1. On June 25, 2020, Plaintiff filed a Second Amended
   8   Complaint to add the State Defendants following the issuance of the statewide
   9   Mask Order on June 18. SAC, ECF No. 7.
  10        Plaintiff alleges generally that masks are not effective at stopping the spread of
  11   the disease, and that the Mask Order is overbroad because it requires (apparently)
  12   healthy individuals to comply. E.g., SAC at 2:12-17 (alleging that “the requirement
  13   for healthy individuals to wear a facial covering is minimally effective in stopping
  14   the spread of COVID-19,” and therefore violates “fundamental rights”); id. at ¶ 16
  15   (alleging that “[m]andatory mask use is based on the belief that many . . .
  16   transmissions may be from symptomatic patients,” but “growing data shows that
  17   asymptomatic transmission . . . is not as prevalent as originally expected”); id. at ¶
  18   19 (alleging there is a “common misperception” that the virus “spreads by
  19   droplets”); id. at ¶ 40 (alleging that “the science and data do not support the use of
  20   masks to stop the spread of COVID-19”).
  21        The SAC asserts five causes of action: (1) violation of “California’s police
  22   power”; (2) violation of the right to privacy; (3) violation of the “right to move
  23   freely”; (4) violation of the “right to personal medical decisions”; and (5) violation
  24   of the right to liberty under article 1, section 1 of the California state constitution.
  25   Plaintiff seeks declaratory and injunctive relief, as well as costs and attorneys’ fees.
  26
             13
                Bill Chappell, More Than 20 U.S. States Now Require Face Masks In
  27   Public, NPR News (July 10, 2020), https://www.npr.org/sections/coronavirus-live-
       updates/2020/07/10/889691823/more-than-20-u-s-states-now-require-face-masks-
  28   in-public.                              7
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   1                                    LEGAL STANDARD
   2        Under Federal Rule of Civil Procedure 12(b)(1), a party may move to dismiss
   3   a complaint for lack of subject matter jurisdiction. Sovereign immunity may also
   4   be raised in a Rule 12(b)(1) motion. Pistor v. Garcia, 791 F.3d 1104, 1111 (9th
   5   Cir. 2015). A Rule 12(b)(1) motion may be “facial or factual.” Safe Air for
   6   Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). In a facial attack, as here,
   7   the moving party asserts that the allegations, even if assumed true, are insufficient
   8   to confer jurisdiction. Id.
   9        Under Federal Rule of Civil Procedure 12(b)(6), a complaint should be
  10   dismissed if it fails to state a claim upon which relief can be granted. Although a
  11   complaint does not need “detailed factual allegations,” it must contain “more than
  12   labels and conclusions, and a formulaic recitation of the elements of a cause of
  13   action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)
  14   (internal citation omitted). A court should dismiss a complaint “if it fails to plead
  15   enough facts to state a claim to relief that is plausible on its face.” In re Cutera
  16   Securities Litig., 610 F.3d 1103, 1107 (9th Cir. 2010) (citation omitted).
  17        In considering a motion to dismiss, the Court may review documents
  18   incorporated by reference into the complaint, as well as documents that the court
  19   may judicially notice. U.S. v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003). Where
  20   judicially noticeable documents or documents referenced in the complaint conflict
  21   with conclusory allegations in the complaint, the Court should ignore the
  22   conflicting allegations of the complaint. Steckman v. Hart Brewing, Inc., 143 F.3d
  23   1293, 1295-96 (9th Cir. 1998).
  24        If a complaint’s defects are not curable, the court should dismiss without leave
  25   to amend. See Coakley v. Murphy, 884 F.2d 1218, 1222 (9th Cir. 1989).
  26                                        ARGUMENT
  27        Plaintiff cannot state a plausible claim for relief in light of the current public-
  28   health crisis and the constitutional standard applicable to the State’s exercise of
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   1   emergency powers to combat that crisis. Moreover, even if Plaintiff’s claims were
   2   subject to traditional constitutional analysis, they would still fail as a matter of law.
   3   I.   PLAINTIFF FAILS TO STATE A CLAIM UNDER THE DEFERENTIAL
            JACOBSON FRAMEWORK.
   4
   5        As set forth below (see Sections II(B)-(D), infra), the Mask Order does not
   6   interfere with the right to privacy, the right to travel, or other federal constitutional
   7   rights identified in the complaint. In an extraordinary public-health crisis such as
   8   the COVID-19 pandemic, the State has broad emergency powers to protect public
   9   health, and courts should afford deference to temporary actions taken to curb the
  10   spread and mitigate its effects. As the Supreme Court has long recognized, “a
  11   community has the right to protect itself against an epidemic of disease which
  12   threatens the safety of its members.” Jacobson, 197 U.S. at 27.
  13        Under the Jacobson framework, the Mask Order should be upheld unless it
  14   has (1) “no real or substantial relation” to legitimate public health ends, or (2) is
  15   “beyond all question, a plain, palpable invasion” of constitutional rights. Id. at 31.
  16   A long line of judicial rulings has already invoked this standard in rejecting
  17   challenges to other public health directives issued by the State during the pandemic.
  18   See, e.g., S. Bay United Pentecostal Church, 140 S. Ct. at 1613 (Roberts, C.J.
  19   concurring) (relying on Jacobson in the context of the Supreme Court’s denial of an
  20   application for emergency injunctive against state public health directives); Best
  21   Supplement Guide, LLC v. Newsom, et al., No. 2:20-cv-00965-JAM-CKD, 2020
  22   WL 2615022, at *3-8 (E.D. Cal. May 22, 2020) (applying Jacobson to conclude
  23   that challenged state public health orders were a “constitutional response to an
  24   unprecedented pandemic”); Givens v. Newsom, et al., __ F. Supp. 3d __, No. 2:20-
  25   cv-00852-JAM-CKD, 2020 WL 2307224, at *3-5 (E.D. Cal. May 8, 2020)
  26   (applying Jacobson to conclude that the plaintiffs were unlikely to succeed on their
  27   challenge to restrictions on in-person protests), appeal docketed, No. 20-15949
  28   (9th Cir. May 19, 2020); Six, et al. v. Newsom, et al., __ F. Supp. 3d __, No. 820-
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   1   cv-00877-JLS-DFM, 2020 WL 2896543 at *1-7 (C.D. Cal. May 22, 2020)
   2   (concluding that a wide range of claims challenging public-health directives
   3   “cannot survive under Jacobson’s governing standard”); Cross Culture Christian
   4   Ctr. v. Newsom, __ F. Supp. 3d __, No. 2:20-cv-00832-JAM-CKD, 2020 WL
   5   2121111, at *3-5 (E.D. Cal. May 5, 2020) (concluding that the State’s stay-at-home
   6   orders “bear a real and substantial relation to public health,” and applying Jacobson
   7   to uphold them on that basis), appeal docketed, No. 20-15977 (9th Cir. May 20,
   8   2020); Gish v. Newsom, et al., No. 5:20-cv-00755-JGB-KKX, 2020 WL 1979970,
   9   at *4-5 (C.D. Cal. Apr. 23, 2020) (performing a similar analysis), appeal docketed,
  10   No. 20-55445 (9th Cir. Apr. 28, 2020); RJN Ex. 12, PCG-SP Venture I LLC v.
  11   Newsom, et al., No. 5:20-cv-01138-JGB-KK, ECF No. 22 at 7 (C.D. Cal. June 23,
  12   2020) (noting that, due to the continued spread of confirmed COVID-19 cases,
  13   “[t]he reasons for applying Jacobson’s relaxed constitutional scrutiny have become
  14   more pressing since Gish and South Bay”).
  15        Under the Jacobson framework, Plaintiff’s claims fail as a matter of law. The
  16   Mask Order clearly has a real and substantial relation to public health. As noted
  17   above, the State’s Mask Order is consistent with a wide scientific and medical
  18   consensus, including but not limited to recent guidance issued by the CDC and the
  19   WHO. In issuing the Mask Order, the State determined that
  20        Over the last four months, we have learned a lot about how COVID-19
            transmission, most notably that people who are infected but
  21        asymptomatic or pre-symptomatic play an important part in community
            spread. The use of face coverings by everyone can limit the release of
  22        infected droplets when talking coughing, and/or sneezing, as well as
            reinforce physical distancing.
  23
  24   (SAC, Ex. 2, italics added.)
  25        In debating the science behind mask-wearing requirements, and alleging that
  26   (apparently) “healthy” individuals should not be required to wear them, Plaintiff is
  27   essentially inviting this Court to second-guess the expert scientific and medical
  28   judgment of State public health officials. However, the Supreme Court has warned
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   1   against just this kind of second-guessing in the context of a public health
   2   emergency. In Jacobson, it held that in a public health crisis “it is no part of the
   3   function of a court . . . to determine which one of two modes was likely to be the
   4   most effective for the protection of the public against disease.” 197 U.S. at 30.
   5   And more recently, the Chief Justice observed that “[o]ur Constitution principally
   6   entrusts ‘the safety and the health of the people’ to the politically accountable
   7   officials of the States,” and that such officials’ public health judgments “should not
   8   be subject to second guessing” in court where—as here—they “act in areas fraught
   9   with medical and scientific uncertainties.” S. Bay United Pentecostal Church, 140
  10   S. Ct. at 1613-14 (Roberts, C.J., concurring) (quoting, inter alia, Jacobson, 197
  11   U.S. at 38).
  12         Moreover, as shown more fully below (see Section II, infra), it is far from
  13   “plain” and “palpable” that the Mask Order violates constitutional rights: on the
  14   contrary, the Mask Order would pass muster even under the traditional
  15   constitutional analysis that applies outside the context of this public health
  16   emergency. In light of the deference due to public health officials in the context of
  17   the COVID-19 pandemic under Jacobson, as well as the Mask Order’s real and
  18   substantial relation to public health, the SAC should be dismissed without leave to
  19   amend.
  20   II.   PLAINTIFF’S CLAIMS ALSO FAIL UNDER TRADITIONAL
             CONSTITUTIONAL ANALYSIS.
  21
             Even if Plaintiff’s claims were analyzed under constitutional standards that
  22
       normally apply outside the context of public health emergencies, Plaintiff’s claims
  23
       would still fail as a matter of law.
  24
             A.   Plaintiff Fails to State a Claim for “Violation of California’s
  25              Police Power.”
  26         Plaintiff first purports to bring a cause of action for “violation of California’s
  27   police power,” premised on the notion that the Mask Order goes beyond what is
  28   “necessary” to prevent the spread of COVID-19. SAC, ¶¶ 41-53.
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   1        As an initial matter, there is no federal cause of action for “violation of [a
   2   state’s] police power.” The police power is not a limit on the powers of state
   3   government; it is, instead, the “general power of governing” retained by the states
   4   under our Constitution’s federal structure. Nat’l Fed’n of Indep. Bus. v. Sebelius,
   5   567 U.S. 519, 536 (2012) (opinion of Roberts, C.J.). This power is “plenary,”
   6   Torres v. Lynch, 136 S. Ct. 1619, 1625 (2016), within “specific constitutional
   7   limitations,” Berman v. Parker, 348 U.S. 26, 32 (1954). It has long been
   8   understood to empower states “to protect the health and safety of their citizens,” in
   9   particular. Medtronic, Inc. v. Lohr, 518 U.S. 470, 475 (1996). In this light, it
  10   makes no sense to describe the Mask Order as a “violation of” of California’s
  11   police power. The police power is not a limitation on state action; it is the State’s
  12   power to act, which specifically includes the State’s power to take action to protect
  13   public health.
  14        Read generously, Plaintiff’s first claim could perhaps be construed to invoke
  15   two specific potential limits on California’s police power—but, so construed, would
  16   still fail for the reasons given below.
  17              1.    To the extent the first claim is based on alleged violations of
                        state law, it is barred by the Eleventh Amendment.
  18
            Plaintiff’s first claim could be construed to allege that the Mask Order violates
  19
       state law. See SAC, ¶ 44 (citing the California Health and Safety Code), ¶ 46–47,
  20
       49–50 (citing California state-court cases). So construed, this claim is barred by
  21
       sovereign immunity.
  22
            “A federal court’s grant of relief against state officials on the basis of state
  23
       law . . . conflicts directly with the principles of federalism that underlie the
  24
       Eleventh Amendment.” Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89,
  25
       106 (1984). Thus, “[a] federal court may not grant injunctive relief against state
  26
       officials on the basis of state law.” Vasquez v. Rackauckas, 734 F.3d 1025, 1041
  27
       (9th Cir. 2013) (citing Pennhurst, 465 U.S. at 106). To the extent Plaintiff’s first
  28
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   1   claim seeks to enjoin the Mask Order on the basis of state law, it is barred by
   2   sovereign immunity.14
   3              2.   To the extent the first claim alleges a due process violation,
                       it fails as a matter of law.
   4
   5        Plaintiff’s first claim could also be construed to allege that the Mask Order
   6   violates due process. See SAC, ¶ 43 (citing the Fourteenth Amendment Due
   7   Process Clause). So construed, the claim fails as a matter of law.
   8        First, Plaintiff does not, and cannot, state a procedural due process claim.
   9   “Governmental decisions which affect large areas and are not directed at one or a
  10   few individuals do not give rise to the constitutional procedural due process
  11   requirements of individual notice and hearing; general notice as provided by law is
  12   sufficient.” Halverson v. Skagit Cty., 42 F.3d 1257, 1261 (9th Cir. 1994). Here, the
  13   issuance of the Mask Order provided all the notice that was needed under the Due
  14   Process Clause. See, e.g., Best Supplement, 2020 WL 2615022, at *5 (E.D. Cal.
  15   May 22, 2020) (holding that prior statewide public health directives satisfied
  16   procedural due process under Halverson).
  17        Second, Plaintiff does not, and cannot, state a substantive due process claim.
  18   “The [Supreme] Court’s established method of substantive-due-process analysis has
  19   two primary features: First, the Court has regularly observed that the Clause
  20   specially protects [only] those fundamental rights and liberties which are,
  21   objectively, deeply rooted in this Nation's history and tradition. Second, the Court
  22   has required a ‘careful description’ of the asserted fundamental liberty interest.”
  23   Washington v. Glucksberg, 521 U.S. 702, 703 (1997) (citations omitted). Here,
  24   Plaintiff fails to specifically describe the asserted fundamental liberty interest at
  25   stake. In any event, there is no fundamental liberty interest “deeply rooted in the
  26   Nation’s history and tradition” in being able to enter public settings without a face
  27         14
               Further, as Plaintiff ostensibly brings this first cause of action under
       42 U.S.C. § 1983 (SAC, ¶ 52), that section offers no redress for state law claims.
  28   Sweaney v. Ada Cty., Idaho, 119 F.3d 1385,    1391 (9th Cir. 1997)
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   1   mask, particularly during a global pandemic. Indeed, even outside the emergency
   2   context, courts have consistently rejected the notion that substantive due process
   3   exempts members of the public from basic public health measures, such as
   4   compulsory vaccination. See, e.g., Whitlow v. California, 203 F. Supp. 3d 1079,
   5   1089 (S.D. Cal. 2016) (Sabraw, J.); Phillips v. City of New York, 775 F.3d 538,
   6   542–43 (2d Cir. 2015); Workman v. Mingo Cty. Bd. of Educ., 419. F. App’x 348,
   7   356 (4th Cir. 2011) (unpublished). If the government can require that members of
   8   the public be vaccinated even in ordinary times, there is no question that members
   9   of the public can be required to wear a mask in public in the midst of a pandemic.
  10        “Laws that do not infringe a fundamental right survive substantive-due-
  11   process scrutiny so long as they are ‘rationally related to legitimate government
  12   interests.’”15 Stormans, Inc. v. Wiesman, 794 F.3d 1064, 1085 (9th Cir. 2015)
  13   (citing Washington, 521 U.S. at 728.) “Rational basis review is highly deferential
  14   to the government, allowing any conceivable rational basis to suffice.” Erotic Serv.
  15   Provider Legal Educ. & Research Project v. Gascon, 880 F.3d 450, 457 (9th Cir.),
  16   amended, 881 F.3d 792 (9th Cir. 2018). “In defending a statute on rational basis
  17   review, the government has no obligation to produce evidence to sustain the
  18   rationality of a statutory classification; rather, the burden is on the one attacking the
  19   legislative arrangement to negate every conceivable basis which might support it.”
  20   Ibid. (internal quotations and citations omitted). Plaintiff does not and cannot meet
  21   this high burden. The Mask Order, requiring the use of face coverings in certain
  22
             15
                 Laws that do not implicate a fundamental liberty interest are not subject to
  23   strict scrutiny and need not be “narrowly tailored,” as Plaintiff suggests. SAC, ¶
       49. Plaintiff’s cited cases are not to the contrary. Wholesale Tobacco Dealers
  24   Bureau of S. California v. Nat'l Candy & Tobacco Co., 11 Cal. 2d 634, 82 P.2d 3
       (1938) (SAC, ¶ 49) upheld the validity of California’s Unfair Practices Act.
  25   Finding that the statutory scheme was within the police power of the state, the court
       explained that its inquiry was limited to “determining whether the act is one
  26   reasonably connected with its avowed purpose.” Id. at 646. Indeed, the court
       explained that it was not the province of the courts to determine whether a rule is
  27   unwise so long as the measure is not arbitrary or discriminatory. Id. at 648.
       Publius v. Boyer-Vine, 237 F. Supp. 3d 997 (E.D. Cal. 2017) (SAC, ¶ 49) is
  28   likewise inapposite, as it concerned a First  Amendment challenge to a state statute.
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   1   high-risk public settings in an effort to protect public health and limit the spread of
   2   a highly contagious virus, easily withstands rational basis review.
   3        For these reasons, Plaintiff’s first claim should be dismissed without leave to
   4   amend.
   5        B.    Plaintiff’s Right-to-Privacy Claim Fails.
   6        Plaintiff’s second claim alleges in conclusory fashion that the Mask Order
   7   violates his constitutional right to privacy. See SAC ¶¶ 54-62. This claim also
   8   fails. The Mask Order requires only that individuals wear a face covering in certain
   9   high-risk public settings. This fact, alone, is fatal to Plaintiff’s right-to-privacy
  10   claim: the right to privacy does not follow an individual into public. See Paris
  11   Adult Theatre I v. Slaton, 413 U.S. 49, 66–67 (1973) (“The idea of a ‘privacy’ right
  12   and a place of public accommodation are, in this context, mutually exclusive.”); see
  13   also Ellwest Stereo Theatres, Inc. v. Wenner, 681 F.2d 1243, 1247–48 (9th Cir.
  14   1982).
  15        Further, the constitutional right to privacy guaranteed by the Fourteenth
  16   Amendment includes “only personal rights that can be deemed fundamental or
  17   implicit in the concept of ordered liberty.” Paris Adult Theatre I, 413 U.S. at 65
  18   (internal citations omitted). This is limited to an individual’s “interest in
  19   independence in making certain kinds of important decisions” related to “the most
  20   intimate of human activities and relationships,” such as marriage, procreation,
  21   contraception, family relationships, and child rearing and education. Carey v.
  22   Population Servs., Int’l, 431 U.S. 678, 684–85 (1977). Plaintiff does not, and
  23   cannot, allege that he has a fundamental privacy interest in deciding for himself
  24   whether to wear a face covering in public amid a global pandemic: that is not the
  25   kind of fundamental liberty interest that courts have historically recognized as
  26   protected under the constitutional right to privacy. For this additional reason, the
  27   claim fails.
  28
                                                   15
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   1        C.   Plaintiff’s Right-to-Travel Claim Fails.
   2        The third claim alleges broadly that the Mask Order violates his “freedom of
   3   movement.” See SAC ¶¶ 63-71. The Mask Order does not violate Plaintiff’s
   4   constitutional right to travel as a matter of law, and the claim therefore should be
   5   dismissed.
   6        As an initial matter, the challenged order does not limit Plaintiff’s freedom of
   7   movement. Although Plaintiff alleges that it “restricts his right to travel within the
   8   County by forcing him to make a decision between wearing a facial covering . . . or
   9   remain a prisoner in his own home” (SAC, ¶ 67), the challenged order is not so
  10   restrictive. On its face, the Mask Order merely requires the use of a mask in certain
  11   high-risk public settings. Thus, for example, Plaintiff is free to travel in his car to
  12   any outdoor space where he can maintain a safe physical distance from others and
  13   not wear a mask, if he so chooses.
  14        Even if the Mask Order were as restrictive as Plaintiff claims (and it is not),
  15   the third claim would still fail as a matter of law. As noted, Plaintiff alleges only
  16   that the Mask Order “restricts his right to travel within the County,” but “neither the
  17   Supreme Court nor the Ninth Circuit has recognized a constitutional right to
  18   intrastate travel.” Mendoza v. Garrett, 358 F. Supp. 3d 1145, 1173 (D. Or. 2018)
  19   (emphasis added); see Nunez ex rel. Nunez v. City of San Diego, 114 F.3d 935, 944
  20   n.7 (9th Cir. 1994).
  21        Finally, even if Plaintiff were to allege a violation of the federal right to
  22   interstate travel, the claim would still fail. Since the earliest cases recognizing a
  23   right to travel, courts have also recognized that the right to interstate travel does not
  24   include a right to “endanger others by carrying contagion about,” and is subject to
  25   reasonable regulation. Edwards v. California, 314 U.S. 160, 184 (1941) (Jackson,
  26   J, concurring); accord Best Supplement, 2020 WL 2615022 at *5 (rejecting a right-
  27
  28
                                                   16
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   1   to-travel challenge to California’s stay-at-home orders). For this reason, too,
   2   Plaintiff cannot state a right-to-travel claim.16
   3        D.    Plaintiff’s “Right to Personal Medical Decisions” Claim Fails.
   4        Plaintiff’s fourth claim, alleging a violation of his constitutional right to make
   5   personal medical decisions (SAC, ¶¶ 72-79), is analytically similar to his privacy
   6   claim, and fails for similar reasons. First, the Mask Order does not require Plaintiff
   7   to make a medical decision (id., ¶ 76) or require him to accept medical “treatment”
   8   against his wishes (id., ¶ 75). It does not require consultation with a medical
   9   professional, nor does it require any medical treatment or care.
  10        Second, even if the Mask Order implicated Plaintiff’s right to decline
  11   unwanted medical treatment (and it does not), the Order would still be
  12   constitutional as a matter of law. The use of a mask is temporary, is only required
  13   in certain public settings, and does not affect Plaintiff’s (or anyone’s) bodily
  14   integrity. Thus, any intrusion is minimal and greatly outweighed by the State’s
  15   competing interest in limiting the spread of COVID-19. See Cruzan by Cruzan v.
  16   Dir., Missouri Dep't of Health, 497 U.S. 261, 279 (1990) (holding that “whether
  17   respondent’s constitutional rights have been violated must be determined by
  18   balancing his liberty interests against the relevant state interests”). Indeed, as noted
  19   above (see supra, Section II(A)(2)), courts have—for over a century—routinely
  20   upheld mandatory vaccination requirements in light of the State’s compelling
  21   interest in fighting the spread of contagious diseases. See Whitlow, 203 F. Supp. 3d
  22   at 1089–90 (collecting cases). The intrusion at issue here is relatively minor and
  23   does not, as a matter of law, violate Plaintiff’s rights.
  24
  25
  26
  27         16
               To the extent Plaintiff is asserting a claim under the California Constitution
       (see SAC, ¶ 65) that claim is barred by Eleventh Amendment immunity, as
  28   discussed in Sections II(A)(1), II(E).     17
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   1        E.    Plaintiff’s Claim Under the California State Constitution is
                  Barred By Eleventh Amendment Sovereign Immunity
   2
   3        Plaintiff’s fifth cause of action for violation of article 1, section 1 of the
   4   California state constitution (SAC, ¶¶ 80-85) is barred by the Eleventh Amendment.
   5   As explained above in the context of Plaintiff’s first cause of action (see supra,
   6   Section II(A)(1)), “[a] federal court may not grant injunctive relief against state
   7   officials on the basis of state law.” Vasquez, 734 F.3d at 1041; see Pennhurst, 465
   8   U.S. at 106. Federal courts considering state-law challenges to California’s public
   9   health directives have consistently held that plaintiffs cannot rely on state law to
  10   obtain relief in federal court. See, e.g., Best Supplement, 2020 WL 2615022, at *7
  11   (“Plaintiffs can neither succeed nor proceed on [their state law claim] against the
  12   State.”); Six, 2020 WL 2896543, at *8 (“Under Pennhurst [], [plaintiffs’ state law
  13   claims] are barred by the Eleventh Amendment.”); Prof. Beauty Fed’n of Cal. v.
  14   Newsom, No. 2:20-cv-04275-RGK-AS, 2020 WL 3056126 at *8 (C.D. Cal. June 8,
  15   2020) (same); RJN, Ex. 12, PCG-SP Venture I LLC, No. 5:20-cv-01138-JGB-KK,
  16   ECF No. 22 at 15 (C.D. Cal. June 23, 2020) (holding that “federal courts are
  17   prohibited by the Eleventh Amendment from relying on state law to enjoin state
  18   officials”).
  19        Accordingly, the Court should dismiss Plaintiff’s fifth claim without leave to
  20   amend.
  21                                       CONCLUSION
  22        For the foregoing reasons, the Court should dismiss the complaint without
  23   leave to amend.
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             Memorandum of Points and Authorities In Support of State Defendants' Motion to Dismiss
                                                      Second Amended Complaint (3:20-cv-00998)
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   1   Dated: July 21, 2020                             Respectfully Submitted,
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   9                                                    their official capacities
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